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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   BECKLEY DIVISION


CEDRIC LOVELLE GRAY,

                             Petitioner,

v.                                                 CIVIL ACTION NO. 5:12-cv-00262
                                                   (Criminal No. 5:01-cr-00004)

UNITED STATES OF AMERICA,

                             Respondent.


                                           ORDER


       Movant Cedric Lovelle Gray filed a pro se Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence By a Person in Federal Custody on February 8, 2012 [ECF 763]. By

Standing Order entered on September 2, 2010, Movant’s motion was referred to Magistrate Judge

R. Clarke VanDervort on February 2, 2012, for the submission of proposed findings of fact and a

recommendation for disposition (“PF&R”). On October 8, 2014, Magistrate Judge VanDervort

issued a PF&R recommending that this Court deny Movant’s motion and remove this matter from

the Court’s docket unless Movant can demonstrate within the time allotted for objecting to the

PF&R that the motion was filed within the proper time period or that circumstances exist which

would permit equitable tolling of the limitation period [ECF 770]. Movant’s objections were due

on October 27, 2014. On that date, the copy of the PF&R which had been mailed to Movant at the

Federal Correctional Institution in Fort Dix, NJ was returned to the Clerk of this Court stamped

“RETURN TO SENDER.” On November 10, 2014, the Court directed the Clerk to send a copy of

the PF&R to Movant at the address provided by his probation officer and provided Movant with an
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additional seventeen days from the date of entry of that Order within which to file his written

objections (ECF 772).

           The Court is not required to review, under a de novo or any other standard, the factual or

legal conclusions of the magistrate judge as to those portions of the findings or recommendation to

which no objections are addressed. Thomas v. Arn, 474 U.S. 140, 150 (1985). Failure to file

timely objections constitutes a waiver of de novo review and the Petitioner’s right to appeal this

Court’s Order. 28 U.S.C. § 636(b)(1); see also Snyder v. Ridenour, 889 F.2d 1363, 1366 (4th Cir.

1989); United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984). In addition, this Court need not

conduct a de novo review when a party “makes general and conclusory objections that do not

direct the Court to a specific error in the magistrate’s proposed findings and recommendations.”

Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982).

           Objections to the October 8, 2014, PF&R in this case were initially due on October 27,

2014. The Court’s order of November 10, 2014 granted Movant seventeen days from the date of

entry of that order within which to file his written objections. To date, no objections have been

filed. 1

           Accordingly, the Court ADOPTS the PF&R [ECF 770], DENIES Petitioner’s § 2255

motion [ECF 763], and DIRECTS the Clerk to remove this case from the Court’s docket.

           IT IS SO ORDERED.




1
    The Federal Bureau of Prisons has informed the Court that Movant was released from custody on March 7, 2014.
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       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                          ENTER:        December 30, 2014
